Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 1 of 16 PageID 1901



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 VIP AUTO GLASS, INC., individually, as
 assignee, and on behalf of all those similarly
 situated

        Plaintiff,                                    CASE NO.: 8:16-CV-02012-MSS-JSS

        vs.                                           CLASS ACTION

 GEICO GENERAL INSURANCE
 COMPANY,

        Defendant.

 ____________________________________\

                         DEFENDANT GEICO GENERAL
              INSURANCE COMPANY’S UNOPPOSED1 MOTION TO SEAL

                Defendant, GEICO General Insurance Company (“GEICO General”), respectfully

 requests that the Court enter an order requiring Plaintiff, VIP Auto Glass, Inc. (“VIP”) to file

 certain exhibits to its Motion for Class Certification (Dkt. 66) (the “Class Certification Motion”)

 under seal pursuant to Local Rule 1.09(a).2 Defendant states as follows in support of this

 motion:

                                          BACKGROUND

        Plaintiff filed its Motion for Class Certification (Dkt. 66) on May 19, 2017, together with

 a Notice of Filing Proffer of Evidence in Support of Plaintiff’s Motion for Class Certification

 (Dkt. 68). Plaintiff intends to file certain confidential and proprietary documents of GEICO


 1
   Plaintiff does not agree or consent to this motion, but shall not oppose the motion pursuant to
 the parties' Confidentiality Agreement dated September 30, 2016." See Local Rule 3.01(g)
 Certification, infra.
 2
   Plaintiff stated in its Motion for Class Certification that the parties had agreed that Defendant
 would file its Motion to Seal by May 24. The parties subsequently modified the date to May 26,
 2017.
Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 2 of 16 PageID 1902



 General in support of its motion that were produced by GEICO General pursuant to either the

 protective order issued by the Court (Dkt. 62) or the prior Confidentiality Agreement entered

 into between the parties. Plaintiff provided GEICO General with prior notice of its intent to file

 the materials and the parties agreed that GEICO General would file this motion to seal by May

 24, 2017. The subject documents are as follows:

          Description              PL Exhibit No.           Bates No.          Produced Under
 3 Provider Agreements             8, 9, 10, 11       GG/VIP0001061-         Order Granting
 between GEICO and Safelite                           1091 (2008 vers.);     Motion to File Under
 Solutions (2008, 2013, 2016)                         1092-1122 (2013        Seal (Dkt. 62)
                                                      vers.); 1123-1125
                                                      (2016 vers.)
 Exhibits to Declaration of Lee                       N/A                    Confidentiality
 Foskey dated March 16, 2017                                                 Agreement
     Exh A - F&R Report           15-1
     Exh B - Peer Report          15-2
 2015 Training Manual excerpts     5                  GG/VIP000140-          Confidentiality
 (“2015 Student Manual”)                              142, 187, 262-328      Agreement
 2016 Training Manual excerpts     6                  GG/VIP000387-          Confidentiality
 (“2016 Student Manual”)                              389, 429, 447-448,     Agreement
                                                      450-502


 With respect to the three provider agreements, the Court’s March 7, 2017 Order (Dkt. 50)

 required GEICO General to produce “for attorneys’ and experts’ eyes only” applicable to master

 agreements between GEICO and Safelite Solutions. The Order also required the parties to jointly

 submit a proposed protective order. As directed, the parties submitted the Joint Submission in

 Response to Order of March 7, 2017, and Including Unopposed Motion to Seal (Dkt. 59). In

 support of the motion to seal, GEICO General filed the Affidavit of Beatrice Dela Pena (Dkt. 60)

 (the “Pena Affidavit”) setting forth the confidential and proprietary nature of the agreements and

 the harm that disclosure would cause. The Court granted the proposed protective order, which

 established a protocol for filing the agreements. (Dkt. 59-1, pg. 3, paragraph 4.a.). The Court


                                                  2
Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 3 of 16 PageID 1903



 also granted that motion to seal without prejudice to either party later challenging the filing

 under seal. (Dkt. 62). Pursuant to the March 31 Order, GEICO General produced for “attorneys’

 and experts’ eyes only” three versions of the provider agreement between GEICO and Safelite

 Solutions, dated January 1, 2008, 2013, and 2016.

        With respect to the other documents, the parties entered into a Confidentiality Agreement

 on September 30, 2016 consistent with the Court’s preferred procedure and with the Case

 Management and Scheduling Order entered by the on October 13, 2016 (Dkt. 30, pg. 4).3 A

 copy of the Confidentiality Agreement is attached as Exhibit 1. GEICO General produced the

 Student Manuals and Exhibits to the Declaration of Lee Foskey dated March 16, 2017, all of

 which were designated as Confidential documents pursuant to the Confidentiality Agreement.

 GEICO General is submitting a Declaration of Lee Foskey dated May 24, 2017 in support of this

 motion that establishes the confidential and proprietary nature of the documents as well as the

 harm that would result from disclosure (the “May 24 Foskey Declaration”). A copy of the May

 24 Foskey Declaration is attached as Exhibit 2. In addition, Safelite Solutions has provided the

 Declaration of Andy Kipker regarding the subject documents in which it has an interest in

 protecting a confidential or proprietary interest (the “Safelite Declaration”). A copy of the

 Safelite Declaration is attached as Exhibit 3.

        Local Rule 1.09 governs this motion, and requires GEICO General to address the

 following six areas: “(i) an identification and description of each item proposed for sealing;



 3
  The Federal Rules of Civil Procedure and cases interpreting those rules contemplate that such
 Confidentiality Agreements will carry the same enforcement rights as an order entered by the
 court. See Fed. R. Civ. P. 29(b), Advisory Committee Note, 1993 Amendments (“litigants
 ordinarily are not required to obtain the court’s approval of these stipulations.”); Tillman v. C.R.
 Bard, Inc., 97 F.R.D. 660, 665 (M.D. Fla. 2014) (noting that “the Court does not consider this
 distinction [that the Court did not adopt the stipulation] significant.”).


                                                  3
Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 4 of 16 PageID 1904



 (ii) the reason that filing each item is necessary; (iii) the reason that sealing each item is

 necessary; (iv) the reason that a means other than sealing is unavailable or unsatisfactory to

 preserve the interest advanced by the movant in support of the seal; (v) a statement of the

 proposed duration of the seal; and (vi) a memorandum of legal authority supporting the seal.”

        In addition, Federal Rule of Civil Procedure 26(c)(1) authorizes courts, upon a showing

 of “good cause” to issue protective orders. Such orders may forbid or limit the scope and

 manner of such disclosure or discovery. In addition to the general authority provided under the

 rule, Rule 26(c)(1)(G) specifically authorizes courts to protect from disclosure trade secrets and

 confidential commercial information. The Rule authorizes protective orders “requiring that a

 trade secret or other confidential research, development, or commercial information not be

 revealed or be revealed only in a specified way.” Fed.R.Civ.P. 26(c)(1)(G).

          IDENTIFICATION AND DESCRIPTION OF MATERIALS TO BE SEALED

        1.      3 Provider Agreements between GEICO and Safelite Solutions

        GEICO General produced the 2008, 2013, and 2016 versions of its provider agreement

 with Safelite Solutions.    The production was limited to “attorneys and experts eyes only”

 pursuant to the Court’s Orders of March 7, 2017 (Dkt. 50) and March 31, 2017 (Dkt. 62)

 (adopting the Joint Submission (Dkt. 59)). The Order also required that, prior to filing any of the

 documents subject to the protective order, the parties to meet and confer and, absent agreement,

 submit the documents in camera with position statements. (Dkt. 59-1, pg. 3, paragraph 4.a.).

 The March 31 Order further granted the motion to file the provider agreements under seal

 without prejudice to either party later challenging the filing under seal. (Dkt. 62).

        The Court’s March 31 Order applies to require submission of the provider agreements in

 camera and, if filing is permitted, to require the filing to be made under seal. However, in an

 abundance of caution, GEICO General restates the grounds for filing under seal as set forth in

                                                   4
Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 5 of 16 PageID 1905



 the Motion to Seal (Dkt. 59) and as factually supported by the Affidavit of Beatrice Dela Pena

 (Dkt. 60) and the prior order obtained by a Florida Circuit Court protecting the provider

 agreement from disclosure upon a finding that it constituted confidential, proprietary information

 (Dkt. 61).

        2.      Training Student Manuals

        GEICO General has produced two versions of its internal and proprietary “GEICO Glass

 Claims Student Manual” during the course of discovery in this case. The manuals cover the

 same internal training subject matter, but are different editions. One version came into use in

 2013 and the other is an updated version that came into use in 2016. Both editions of the

 manuals are internally designated and labeled as confidential materials. These Student Manuals

 reveal both GEICO’s proprietary glass claims handling process and its proprietary training

 process.

        Plaintiff intends to file certain sections in each produced manual in support of the Class

 Certification Motion. These sections can be categorized as follows: (1) guidelines for handling

 insured calls opening a glass claim; (2) a generalized description of National Auto Glass

 Specifications (“NAGS”); and (3) detailed screen-by-screen instructions explaining the process

 for setting appointments at the request of an insured and for generating work orders to be

 submitted to glass shops.

        3.      Reports Attached to March 16 Foskey Declaration.

        GEICO General has also produced two exhibits to the March 16 Foskey Declaration,

 which were designated as Confidential pursuant to the Confidentiality Agreement.

        Exhibit A to the March 16 Foskey Declaration is an exemplar of a report generated from

 GEICO’s confidential claims data summarizing GEICO’s claims experience. As explained in



                                                 5
Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 6 of 16 PageID 1906



 paragraph 5 of that declaration, “The exemplar report shows, at a national level, summary results

 for ‘Non-Network’ glass shops, which are shops that are neither Safelite Fulfillment owned

 shops nor network affiliate shops that have agreed to charge the rate approved by GEICO.”

 (Dkt. 68-22, PageID 1679-80).         This report contains extremely sensitive commercial

 information. Specifically, it summarizes claims experience data over a multi-year period using

 data and systems that can only be generated with access to GEICO’s complete claim history. Id.

        Exhibit B to the March 16 Foskey Declaration is a peer report provided by Safelite

 Solutions to GEICO.     As explained in that declaration, the exemplar peer report contains

 comparative pricing levels of other insurance companies or fleet purchasers of services provided

 without identifying the name of the entity other than GEICO. Id.

                            REASON THE FILING IS NECESSARY

        Counsel for VIP believes that the documents described above are relevant to its Class

 Certification Motion. See Class Certification Motion, p. 6. Plaintiff has therefore indicated it

 intends to file this information in support of its Class Certification. Accordingly, GEICO

 General is filing this motion to protect from unnecessary disclosure of this confidential trade

 secret and commercially sensitive information.

                          REASON THAT SEALING IS NECESSARY

        GEICO General has established the necessity of filing the documents under seal in the

 Affidavit of Beatrice Dela Pena and the May 24 Foskey Declaration, as summarized below.

        1. 3 Provider Agreements between GEICO and Safelite Solutions

        As established in the Pena Affidavit, GEICO General has entered into a contractual

 relationship with Safelite Solutions, LLC to assist GEICO in administering and paying charges

 submitted by glass shops (the “Safelite Agreements”).       See Pena Affidavit, ¶ 7 (Dkt. 60,

 PageID 936-940). GEICO General considers the entirety of the Safelite Agreements to be

                                                  6
Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 7 of 16 PageID 1907



 confidential and trade secret, as the terms under which Safelite companies provide services to

 GEICO General provide it with a competitive advantage over its competitors. Id. at ¶ 11.

         The Pena Affidavit further states that GEICO General has taken measures to prevent the

 disclosure of the contents of the Safelite Agreements to anyone other than those who have been

 selected to have access for limited purposes, and GEICO General continues to take such

 measures. Id. at ¶ 8. The Safelite Agreements are not publicly available. Id. at ¶ 10. Access to

 the Safelite Agreements within GEICO is limited to those persons with a need for access. Id. at

 ¶ 8. This access is generally restricted to officer level employees with limited access provided to

 director level management, if necessary, in connection with their job responsibilities. Id.

 Disclosure of the Safelite Agreements would cause significant harm to GEICO by revealing the

 processes and techniques used to administer GEICO’s payments and information with respect to

 how GEICO arranges its relationship with its third party vendors, including Safelite Solutions.

 Id. at ¶ 20.

         Safelite Solutions has provided additional support regarding the confidential and

 proprietary nature of the Safelite Agreements confirming that it considers the agreements

 confidential and proprietary and protects them from disclosure. See Safelite Declaration, ¶ 5.

         2. Training Student Manuals

         As set forth in the May 24 Foskey Declaration, the Student Manuals disclose two types of

 confidential commercial information – (1) GEICO’s processes for handling claims in general and

 glass claims in particular; and (2) GEICO’s methods of training its employees. May 24 Foskey

 Declaration, ¶ 16. GEICO General considers the information contained in its Student Manuals to

 be trade secret and confidential commercial information that has significant value, as the




                                                 7
Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 8 of 16 PageID 1908



 processes and procedures utilized by GEICO in training its employees and servicing glass claims

 provide GEICO a competitive advantage over its competitors. Id. at ¶ 13.

         The May 24 Foskey Declaration further states that GEICO General has taken measures to

 prevent the disclosure of the contents of the Student Manuals to anyone other than those who

 have been selected to have access for limited purposes, and GEICO General continues to limit

 access to the Student Manuals. Id. at ¶ 26. Access to the Student Manuals within GEICO

 General is limited to those persons with a need for access. Id. at ¶ 10.

         Each page of the Student Manuals is marked “Confidential” and GEICO General’s

 computer systems do not allow for downloading, forwarding, or printing of the Student Manuals

 by end users. Id. The Student Manuals are not publicly available. Id. at ¶ 28. As set forth in the

 May 24 Foskey Declaration, copies of the Student Manuals may only be obtained by

 management through a specific request for a justifiable purpose, such as complying with a court

 order or discovery obligation.       Id. at ¶ 10. When copies have been provided in limited

 circumstances, GEICO General always requires that the Student Manuals be designated and

 protected as confidential. Id.

         Disclosure of GEICO’s Student Manuals to third parties could cause serious immediate

 harm to GEICO and to its competitive position in the industry because it would provide

 GEICO’s competitors with GEICO’s confidential and proprietary glass claims handling and

 training processes.

         Moreover, it would reveal screen-by-screen detail of the SV2 computer system for setting

 appointments. May 24 Foskey Declaration, ¶¶ 20- 22. Safelite Solutions has provided further

 support for the confidential and proprietary nature of the detailed SV2 system information that

 Plaintiff intends to file. See Safelite Declaration, ¶ 4.



                                                    8
Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 9 of 16 PageID 1909



         3. Reports Attached to March 16 Foskey Declaration.

                 a. GEICO’s F&R Report

         As set forth in the May 24 Foskey Declaration attached as Exhibit 2, GEICO General

 provided a copy of an exemplar of a report generated from GEICO General’s confidential claims

 data summarizing GEICO’s claims experience as Exhibit A to the March 16 Foskey Declaration.

 See May 24 Foskey Declaration, ¶ 24 (the March 16 Foskey Declaration was filed by Plaintiff

 under Dkt. 68-22, PageID 1678-83). This exemplar F & R Report was designated “Confidential,”

 because it “shows, at a national level, summary results for ‘Non-Network’ glass shops, which are

 shops that are neither Safelite Fulfillment owned shops nor network affiliate shops that have

 agreed to charge the rate approved by GEICO.” Id. (quoting March 16 Foskey Declaration, ¶ 5).

         The May 24 Foskey Declaration establishes that the F&R Report contains extremely

 sensitive commercial information. Id. Specifically, it summarizes claims experience data over a

 multi-year period using data and systems that can only be generated with access to GEICO

 General’s complete claim history. Id. This information has significant value to GEICO General

 and provides it with an advantage or an opportunity to obtain an advantage over those who do

 not know or use it. Id. at ¶ 25.

         GEICO General has taken measures to prevent the disclosure of its glass claims data and

 reports to anyone other than those who have been selected to have access for limited purposes,

 and the company continues to take such measures. Id. at ¶ 26. Generally, such reports are

 restricted to GEICO General managers and officers with responsibility over glass claims. Id.

 Disclosure of GEICO General’s claims data or reports to third parties could cause serious

 immediate harm to GEICO and to its competitive position in the industry.           Specifically,

 GEICO’s claims data and reports generated from that data would reveal GEICO’s collective



                                                9
Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 10 of 16 PageID 1910



 experience with respect to billing, payments, claims trends, and other information valuable to

 GEICO’s competitors who, as a general practice, protect such information from disclosure to

 GEICO and the public. Id. at ¶¶ 29- 31.

                b. Safelite Peer Report

        As set forth in the May 24 Foskey Declaration, GEICO General provided a copy of an

 exemplar of a peer report provided by Safelite Solutions to GEICO as Exhibit B to Mr. Foskeys

 Declaration dated March 16, 2017. Id. at ¶ 32. This exemplar peer report contains comparative

 pricing levels of other insurance companies or fleet purchasers of services provided without

 identifying the name of the entity other than GEICO General. Id.

        The May 24 Foskey Declaration establishes that the peer reports provided to GEICO are

 not publicly available, and GEICO General limits distribution of this peer report to persons with

 management responsibility over glass claims. Id. at ¶ 33. GEICO General further understands

 that the information contained in the peer reports is deemed proprietary and confidential by

 Safelite Solutions with significant value that would cause Safelite Solutions irreparable harm by

 the loss of competitive advantage in its marketplace. Id. at 36. Accordingly, GEICO has treated

 the peer reports as confidential. Id.

        Safelite Solutions has provided further support for the confidential and proprietary nature

 of this report. See Safelite Declaration, ¶ 6.

                       NO OTHER MEANS ARE AVAILABLE OR
              SATISFACTORY TO PRESERVE GEICO GENERAL’S INTERESTS

        Plaintiff has determined that the subject materials are relevant to its Motion for Class

 Certification. GEICO General produced these materials in good faith under Court order or

 pursuant to the Confidentiality Agreement. However, GEICO General is not in control of what

 material Plaintiff deems relevant to its motion. Both of these factors weigh in favor of sealing


                                                  10
Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 11 of 16 PageID 1911



 the filed documents. Courts have found, “the fact that [Defendants] produced the confidential

 documents, at least in part, based upon [their] reliance upon the agreed to Confidentiality Order,

 weighs in favor of keeping those documents sealed.” Tillman v. C.R. Bard, Inc., 297 F.R.D. 660,

 665 (M.D. Fla. 2014) (quoting In re Denture Cream Products Liab. Litig., 09-2051-MD, 2013

 WL 214672, at *10 (S.D. Fla. Jan. 18, 2013)).

        Moreover, since Plaintiff is filing the documents, GEICO General is not able to control

 what materials Plaintiff chooses to file or redact. Accordingly, a lesser means of preservation of

 confidentiality will fail to preserve the confidentiality and sensitive nature of this information,

 along with preventing the Court from considering its effect on the issues raised in the Class

 Certification Motion. Therefore, filing this information under seal will serve to fully protect

 GEICO General’s interests and provide the Court with the full scope of the information

 described above. See MEDAI, Inc. v. Quantros, Inc., No. 12-cv-840, 2012 WL 2512007, at *2

 (M.D. Fla. June 29, 2012) (quoting Romero v. Drummond Co., 480 F. 3d 1234, 1245 (11th Cir.

 2007) (holding that there is no “‘less onerous’ alternative to sealing the documents that would

 ensure its contents remain confidential while allowing the Court to review it as necessary to

 reach a decision on the merits.”).

                             PROPOSED DURATION OF THE SEAL

        Defendant respectfully requests that the documents subject to this Motion remain under

 seal indefinitely until further order of the Court. See Teledyne Instruments, Inc. v. Cairns, No.

 12-cv-854, 2013 WL 5874584, at *2 (M.D. Fla. Oct. 31, 2013) (sealing “non-public financial

 data” until further order of the court given the sensitive nature of the sealed information that was

 important to the business of one of the parties).




                                                     11
Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 12 of 16 PageID 1912



                                    MEMORANDUM OF LAW

        The analysis of a motion to seal filed in connection with substantive issues begins with

 the recognition that “‘[t]he operations of the court and the judicial conduct of judges are matters

 of utmost public concern,’ and the integrity of the judiciary is maintained by the public’s right of

 access to court proceedings.” Local Access, LLC v. Peerless Network, Inc., No. 6:14-cv-399-

 Orl-40TBS, 2015 WL 5307729, at *1- 5 (M.D. Fla. Sept. 10, 2015) (quoting Romero v.,

 480 F. 3d at 1245. This “common law right” includes the right to “inspect and copy judicial

 records and public documents.” Id. (quoting Chicago Tribune Co. v. Bridgestone/Firestone,

 Inc., 263 F.3d 1304, 1312–13 (11th Cir. 2001)); see also In re Alexander Grant & Co. Litig., 820

 F.2d 352, 355 (11th Cir. 1987) (citations omitted).

        The right to access judicial documents is not absolute, and the exercise of judicial

 discretion to protect information “should be informed by a sensitive appreciation of the

 circumstances that led to the production of the particular document in question …. [T]he

 common-law right of access requires a balancing of competing interests.” In re Photochromic

 Lens Antitrust Litigation, No. 10-md-02173, 2013 WL 12156446, at *1, n. 3 (quoting F.T.C. v.

 AbbVie Prods. LLC, 713 F. 3d 54, 62 (11th Cir. 2013)); Chicago Tribune Co., 263

 F. 3d at 1311).

        And “[a] party's privacy or proprietary interest in information sometimes overcomes the

 interest of the public in accessing the information.” Romero, 480 F. 3d at 1246 (citing Nixon v.

 Warner Commc'ns, Inc., 435 U.S. 589, 598, 98 S.Ct. 1306, 1312, 55 L.Ed.2d 570 (1978)). As

 the Eleventh Circuit instructed in Romero:

        In balancing the public interest in accessing court documents against a party's
        interest in keeping the information confidential, courts consider, among other
        factors, whether allowing access would impair court functions or harm legitimate
        privacy interests, the degree of and likelihood of injury if made public, the


                                                 12
Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 13 of 16 PageID 1913



        reliability of the information, whether there will be an opportunity to respond to
        the information, whether the information concerns public officials or public
        concerns, and the availability of a less onerous alternative to sealing the
        documents.

 Romero, 480 F.3d at 1246; see also In re Alexander Grant & Co. Litig., 820 F.2d at 356.

        Courts have applied this balancing test and held that “a company’s interest in the privacy

 of its financial records and the terms of confidential agreements ... often outweigh the public

 right of access.” MEDAI, Inc., 2012 WL 2512007, at *2 (quoting Graphic Packaging Int'l v.

 C.W. Zumbiel, No. 10-cv-891, 2010 WL 6790538, at *1 (M.D. Fla. Oct. 28, 2010)); Pinnacle

 Towers LLC v. Airpowered, LLC, No. 15-cv-81, 2015 WL 5897524, at *1- 2 (M.D. Fla.

 Oct. 7, 2015).

        Federal courts in this (and other Florida) districts have further held that filing under seal

 is warranted to protect a party from the unnecessary disclosure of confidential business and

 financial information to its competitors.4 See 3Lions Publishing, Inc. v. Juniper Networks, Inc.,

 No. 14-cv-1707, 2015 WL 12850602, at *1 (M.D. Fla. Mar. 3, 2015) (M. Scriven presiding)

 (holding that a party established good cause to seal “a confidential internal document, its

 document retention policy” pursuant to Local Rule 1.09(a)); MEDAI, Inc., 2012 WL 2512007, at

 *2 (sealing a confidential product licensing agreement submitted in a preliminary injunction

 proceeding and holding that “courts have found that ‘a company's interest in the privacy of its


 4
  See also, e.g., U.S. ex rel. Greg Westfall, et al. v. Axiom Worldwide, Inc., et al., No. 8:06-cv-
 571, 2008 U.S. Dist. Lexis 104725, at *12 (M.D. Fla. Dec. 19, 2008) (sealing sales training
 manual and a partial client list to protect from disclosure to a competitor); State Farm Mut. Auto.
 Ins. Co. v. Altamonte Springs Diagnostic Imaging, Inc., No. 11-cv-1373, 2013 WL 1212818, at
 *3 (M.D. Fla. March 25, 2013) (sealing an exhibit that was “a compilation of ASDI's private,
 confidential financial information,” finding “that there is a reasonable likelihood that public
 disclosure of [the exhibit] could injure ASDI.”); Wallace v. NCL (Bahamas), Ltd., 271 F.R.D.
 688, 694 (S.D. Fla. 2010) (sealing exhibits that “are primarily excerpts from Defendant's
 proprietary ship operations manual and [] budgeted revenue targets.”)



                                                 13
Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 14 of 16 PageID 1914



 financial records and the terms of confidential agreements ... often outweigh the public right of

 access.’”; see also ThyssenKrupp Elevator Corp. v. Hubbard, No. 13-cv-00202 (M.D. Fla. Aug.

 21, 2013) (sealing a stock purchase agreement deemed confidential under the parties’

 confidentiality agreement because disclosure “may destroy the competitive advantage that comes

 with keeping such information confidential.”); Local Access, LLC, 2015 WL 5307729, at *1- 5

 (sealing “confidential and proprietary business information which includes business plans,

 pricing information, and technical capabilities, which if made public, could impact and injure

 [the party’s] business operations”).

         As set forth in the sections above, GEICO expended a significant amount of time and

 resources to develop processes and systems that allow it to operate more efficiently and provide

 better service to its insureds than its competitors. GEICO considers these documents to be

 confidential trade secret and commercially sensitive information, proactive steps are taken to

 restrict access to necessary levels of internal management, and this information contains

 information that provides GEICO General with a competitive advantage in the insurance

 marketplace. Disclosure of this information will cause irreparable harm because it will disclose

 to GEICO’s competitors GEICO’s relationships with its vendors, its training and customer

 service processes, its computer systems processes, as well as its glass claims experience obtained

 from internal claims data and compilations of that data. All of this is specifically set forth in the

 sections above and the declarations submitted in support of this Motion.

        There is no less burdensome alternative to sealing these materials that would ensure that

 their confidential contents remain confidential, while still allowing Plaintiff to introduce the

 documents as exhibits to its Class Certification Motion.           Accordingly, GEICO General

 respectfully requests that the Court enter an order requiring Plaintiff to file the information



                                                  14
Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 15 of 16 PageID 1915



 described above and proposed Exhibits 5, 6, 8, 9, 10, 11, 15-1, and 15-2 to the Class Certification

 Motion under seal.

                                 Local Rule 3.01(g) Certification

        Counsel for GEICO General certifies that the parties have conferred regarding the relief

 sought in this motion pursuant to Local Rule 3.01(g). Plaintiff’s counsel has requested that the

 Court be informed that they cannot agree or consent to GEICO General’s motion to seal because,

 among other things, Plaintiff's counsel do not have access to the information outside the scope of

 this litigation from which they can make representations regarding the factors to be considered

 for sealing, and have not been provided any information to make such a determination at this

 time. Pursuant to the parties' Confidentiality Agreement dated September 30, 2016, Plaintiff is

 "deemed to not consent to, but shall not oppose" GEICO General's motion to seal.

        WHEREFORE, GEICO General requests that the Court enter an order requiring Plaintiff

 to file the above-referenced exhibits to its Class Certification Motion under seal.

        Dated: May 26, 2017

                                               Respectfully Submitted,

                                               /s/ E.K. Cottrell
                                               John P. Marino (Florida Bar No. 814539)
                                               Lindsey R. Trowell (Florida Bar No. 678783)
                                               Edward K. Cottrell (Florida Bar No. 013579)
                                               SMITH, GAMBRELL & RUSSELL, LLP
                                               50 North Laura Street
                                               Suite 2600
                                               Jacksonville, Florida 32202
                                               Phone: (904) 598-6100
                                               Facsimile: (904) 598-6204
                                               Email: jmarino@sgrlaw.com
                                                       ltrowell@sgrlaw.com
                                                       ecottrell@sgrlaw.com

                                               Attorneys for Defendant
                                               GEICO General Insurance Company


                                                  15
Case 8:16-cv-02012-MSS-JSS Document 69 Filed 05/26/17 Page 16 of 16 PageID 1916




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 26, 2017, I electronically filed the foregoing

 document with the Clerk of the Court using the CM/ECF system that will send a notice of

 electronic filing to all counsel of record.


                                               /s/ E.K. Cottrell
                                               Attorney




                                                16
